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            Exhibit 1
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                    IN THE UNITED STATE DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

IN RE: 3M COMBART ARMS
EARPLUG PRODUCTS LIABILITY
LITIGATION,                                         Case No. 3:19-md-2885

                                                    Judge M. Casey Rodgers
                                                    Magistrate Judge Gary R. Jones
This Document Relates to:
Joshua Prokasy 8:20-cv-04381-MCR-HTC
________________________        _______/


    PROPOSED ORDER FOR LEAVE TO AMEND COMPLAINT TO ADD PARTIES
       This matter having come before the Court by request of the Plaintiff and the Court being

fully advised thereon;

       IT IS HEREBY ORDERED that Plaintiff is granted a 14-day extension to submit his

registration paperwork, pursuant to Local Rule 6.1 and the Plaintiff’s motion.




                                             IT IS SO ORDERED.




Dated: January 25, 2023                      _________________________________
                                             THE HONORABLE M. CASEY RODGERS
                                             MAGISTRATRE JUDGE HOPE T. CANNON




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